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                                                                              4
    'AD 2450 (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
                Sheet 1
                                                                                                                                    . f"'

                                            UNITED STATES DISTRICT COURT II.; JUL II PI1 4: I ~
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL Cl~E
                                       v.                                         (For Revocation of Probation or Supervised Release) Of?1!P
              PATRICK DAIRMAR GLADNEY (22)                                        (For Offenses Committed On or After November 1, 1987)


                                                                                  Case Number: IICRI448-MMA

                                                                                  Kathryn A. Thickstun
                                                                                  Defendant's Attorney
  REGISTRATION No. 25438298
~ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No._2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o   was found in violatiob ofallegation(s) No.                                                      after denial of guilt.
    ACCORDINGLY, the colirt has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number
            2
                                 L
                                 Nature of Violation
                      Fail e to be truthful and/or follow instructions




      Supervised Release      Js revoked and the defendant is sentenced as provided in pages 2 through                   4_ of this judgment.
                                                                                                                        __
    This sentence is imposed p*suant to the Sentencing Reform Act of 1984.


              IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.




                                                                                  HON. MICHAEL M. ANELLO
                                                                                  UNITED STATES DISTRICT JUDGE




                                                                                                                                  lICRI448-MMA
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AD 2450 (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
                                                                             4
           Sheet 2 -Imprisonment

                                                                                                       Judgment - Page    2     of       4
 DEFENDANT: PATRICK DAIRMAR GLADNEY (22)
 CASE NUMBER: 11 CRI448-MMA
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
          THREE (3) MONTHS




     o The court makes the following recommendations to the Bureau of Prisons:


     o   The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.          Op.m.       on _____________
                as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before
                    ----------------------------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                           to

 at _______________ , with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL

                                                                             By
                                                                                  ------------D~E~·P~UT~Y~UN~IT~ED~S~T~A~TE~S~~~~HAL~------------




                                                                                                                              llCR1448-MMA
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AO 24SD (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations       4
           Sheet 3 - Supervised Release
                                                                                                              Judgment-Page - L - of _ _4.:.-_ _
DEFENDANT: PATRICK DAIRMAR GLADNEY (22)                                                               II
CASE NUMBER: IICRl448-MMA
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FORTY (40) MONTHS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

~      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

r8l    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of20oo, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The detendant shall comply with t1ie requirements of the Sex Offender'Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifYing offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                       llCRl448-MMA
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                                                               4


   AO 2458   (Rev. 9/00) Judgment in a Criminal Case
             Sheet 3 - Continued 2 - Supervised Release

                                                                                Judgment-Page ---L- of   ---1
   DEFENDANT:              PATRICK DAIMAR GLADNEY (22)
   CASE                    11 CRI448-MMA

                                   SPECIAL CONDITIONS OF SUPERVISION


1. Submit person, property, residence, office or vehicle to a search, conducted by a United States
Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of release; failure to submit to a search may be
grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
searches pursuant to this condition.

2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch
testing and counseling, as directed by the probation officer. Allow for reciprocal release of information
between the probation officer and the treatment
provider. May be required to contribute to the costs of services rendered in an amount to be determined
by the probation officer, based on ability to pay.

3. Shall not associate with any known probationer, parolee, or gang member, including but not limited
to any member of the Deep Valley Crips or Crips affiliate.

4. Shall not possess, wear, use or display or have in his possession any item associated with gang dress
or any item prohibited by the probation officer, including but not limited to any insignia, emblem,
badge, cap, hat, scarf, bandanna, or any article of
clothing, hand sign or paraphernalia associated with membership or affiliation in any gang, including
but not limited to any Crips gang faction.

5. Participate in a program of mental health treatment as directed by the probation officer, take all
medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
permission. The court authorizes the release of the presentence report and available psychological
evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer,
based on ability to pay.

6. Probation is ordered to provide interim housing, if necessary.

7. Court requests supervision be transferred to the District of Arizona.
